      Case 1:25-cv-00339-JDB        Document 74-1       Filed 03/31/25    Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



AMERICAN FEDERATION OF LABOR                          Case No. 1:25-cv-00339-JDB
AND CONGRESS OF INDUSTRIAL
ORGANIZATIONS, et al.,                                Judge John D. Bates

    Plaintiffs,

        v.

DEPARTMENT OF LABOR, et al.,

    Defendants.




                                  [PROPOSED] ORDER

       This matter comes before the Court on Plaintiffs’ Motion to Compel Discovery. ECF No.

73. Based on reasoning articulated in Defendants’ Opposition to Plaintiffs’ Motion to Compel,

ECF No. 74, the Court hereby DENIES Plaintiffs’ motion.

       It is SO ORDERED.



DATED this __ day of _____________, 2025.                ________________________
                                                         Hon. John D. Bates
                                                         United States District Judge
